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                                         6
                                         7                                 UNITED STATES DISTRICT COURT
                                         8                                         DISTRICT OF NEVADA
                                         9
                                        10   TODD EVANS,                                        Case No.: 3:18-cv-00283-RCJ-WGC

                                        11                   Plaintiff,
                                                                                                STIPULATION AND ORDER TO
                                        12   vs.                                                EXTEND DEADLINE TO FILE
                                        13                                                      AMENDED COMPLAINT
(702)728-5300 (T) / (702)425-8220 (F)




                                             JAMES DZURENDA, et al.,                            (ECF No. 41)
 701 EAST BRIDGER AVE., SUITE 520




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       ATTORNEYS AT LAW




                                                              Defendants.                       (SECOND REQUEST)
                                        15
                                        16
                                        17            Pursuant to LR IA 6-1, Plaintiff TODD EVANS and Defendants JAMES

                                        18   DZURENDA, ROMEO ARANAS, JOHN KEAST, DR. JONES, and DR. MAR

                                        19   (collectively “Defendants”), by and through their respective counsel, hereby stipulate and

                                        20   request that this Court extend the deadline for Plaintiff TODD EVANS to file his Amended

                                        21   Complaint, pursuant to Screening Order (ECF No. 41), by an additional thirty (30) days,

                                        22   extending the deadline from July 10, 2020 to August 10, 2020.

                                        23            This Request for an extension of time is not sought for any improper purpose or

                                        24   other purpose of delay. This is the second request for an extension in this matter. This request

                                        25   for extension is based upon the following:

                                        26            Counsel for Plaintiff TODD EVANS initiated this request due to conflicting

                                        27   deadlines in other cases. Specifically, counsel Alina M. Shell is counsel in In Re: D.O.T.

                                        28   Litigation (Eighth Judicial District Court Case No. A-19-787004-B). Trial in that matter was



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                                         1   originally scheduled to begin on April 20, 2020. In light of the COVID-19 pandemic, that
                                         2   trial deadline was stayed indefinitely. However, on June 22, 2020, the district court notified
                                         3   the parties that trial in the In re: D.O.T. Litigation will begin on July 13, 2020, and will be
                                         4   conducted at an off-site location to comply with the social distancing guidelines promulgated
                                         5   by the Eighth Judicial District Court. Since the district court set trial in the In re: D.O.T.
                                         6   Litigation matter for July 13, 2020, the undersigned has had to dedicate substantial time to
                                         7   pretrial filings, completing depositions, participating in pretrial hearings, and other matters
                                         8   related to trial. Accordingly, counsel requires additional time to adequately represent Mr.
                                         9   Evans’ interests in this matter.
                                        10            WHEREFORE, the parties respectfully request that this Court extend the deadline
                                        11   for Plaintiff to file his Amended Complaint to up to and including August 10, 2020.
                                        12            IT IS SO STIPULATED.
                                        13
                                             DATED this 9th day of July, 2020.                 DATED this 9th day of July, 2020.
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                                             MCLETCHIE LAW                                     ATTORNEY GENERAL’S OFFICE
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                                             /s/ Alina M. Shell                                 /s/ Douglas R. Rands
                                        17   Margaret A. McLetchie, NBN 10931                   Aaron D. Ford, Nevada Attorney General
                                             Alina M. Shell, NBN 11711                          Douglas R. Rands, Nevada Bar No. 3572
                                        18   701 E. Bridger Ave., Suite 520                     100 N. Carson Street
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                                             Attorneys of Plaintiff Todd Evans                  Attorneys for Defendants
                                        20
                                        21
                                                                                      ORDER
                                        22
                                                                                     IT IS SO ORDERED.
                                        23
                                        24
                                        25
                                        26                                           HONORABLE JUDGE WILLIAM G. COBB
                                                                                     U.S. MAGISTRATE JUDGE
                                        27
                                        28                                           DATED: July 9, 2020


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